     Case 1-17-46613-nhl        Doc 175    Filed 05/07/20    Entered 05/07/20 11:34:22


                             ROSENBERG, MUSSO & WEINER, LLP
                                    Attorneys At Law


    Bruce Weiner                                                                        26 Court Street
   Robert J. Musso                                                                        Suite 2211
    ___________                                                                      Brooklyn, NY. 11242
  Louis R. Rosenberg
                                                                                      (718) 855-6840
    (1908 – 1997)
                                                                                   FAX NO. (718) 625-1966
    ___________
    Robert Nadel



                                                   May 7, 2020


Honorable Nancy Hershey Lord
United States Bankruptcy Court
Eastern District of New York
271 Cadman Plaza East
Brooklyn, New York 11201


                       Re:     Bracha Cab Corp., et al
                               Bankruptcy Case No. 17-46613


Dear Judge Lord:

       This will confirm all matters scheduled for May 12, 2020 are adjourned to July 7, 2020 at
2:30 p.m.



                                                   Very truly yours,


                                                   /s/Bruce Weiner
                                                   Bruce Weiner

BW:jg
